           Case 1:16-cr-00069-JLT-SKO Document 732 Filed 10/04/18 Page 1 of 1


1

2

3

4

5

6                               IN THE UNITED STATES DISTRICT COURT
7                          FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9           UNITED STATES OF AMERICA,              ) Case No.: 1:16CR00069 LJO
                                                   )
10                                                 ) ORDER TO CONTINUE SENTENCING
                                  Plaintiff,       ) HEARING
11                                                 )
                           v.                      )
12                                                 )
            KIANDRE JOHNSON,                       )
13                                                 )
                                                   )
14                                Defendant.       )
                                                   )
15

16
                                                   ORDER
17
            Upon a showing of good cause and pursuant to the parties’ stipulated request for a
18

19   continuance of the defendant’s sentencing hearing currently scheduled for October 29, 2018,

20   the court hereby GRANTS the requested continuance. The defendant’s sentencing hearing is
21
     hereby continued to December 17, 2018 at 8:30 a.m.
22

23          IT IS SO ORDERED.
24
            Dated:    October 4, 2018                     /s/ Lawrence J. O’Neill _____
25                                               UNITED STATES CHIEF DISTRICT JUDGE
26

27

28



     STIPULATION AND PROPOSED ORDER TO CONTINUE SENTENCING HEARING
                                                                                                   3
